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I.     EXECUTIVE SUMMARY

Paragraphs 15 through 22 of the Consent Decree address the obligations of the City of Baltimore
(“the City”) and Baltimore Police Department (“BPD” or “the Department”) related to community
policing and problem-oriented policing (“CPOP”) and community engagement. The Monitoring
Team conducted a compliance review to determine whether the City and BPD are complying with
these requirements.

This review finds that the City and BPD have made significant progress in an area that is difficult
to implement and measure. BPD’s work in this area includes: documenting throughout the
Department the manner in which the principles of community policing should reflect in the
Department’s operations; beginning to implement micro-community policing plans that allow for
the co-creation with community members of customized neighborhood-level safety and disorder-
reduction strategies; and creating an impressive process for incorporating community input into
training development.

However, overall BPD has much work to do to meet—and prove that it has met—its
obligations regarding officer engagement with the community in the field. The City and BPD
will need to demonstrate considerably more progress to come into Initial Compliance with most
requirements of Paragraphs 15 through 22. Thus, though the present report addresses the progress
BPD has made to successfully implement those requirements in practice, the report’s primary
purpose is to identify where the gaps remain and identify steps needed for BPD to come into Initial
Compliance.

In particular, BPD must be able to demonstrate that community policing is working in practice
throughout the Department and that the department is meaningfully assessing the outcomes its
community policing activities are having in the field. BPD will not be able to fulfill these
requirements until it finds ways to free officer time to conduct meaningful community
engagement—a deficiency affected, in part, by the Department’s current staffing shortage—and to
measure that this engagement is having its intended outcomes.

For example, BPD continues to fall short of meeting its commitment to allow patrol officers to
spend 40 percent of their time on engaging in proactive and community policing. For a variety of
reasons, officers also do not currently have sufficient time and support to engage in the longer-
term problem solving with communities that is more likely to result in solutions for chronic
problems and community trust- and relationship-building.




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Summary of Findings

      •   BPD has made significant progress in thoughtfully memorializing how it should
          integrate its commitment to community and problem-oriented policing into some
          of the myriad areas of the Department’s operational and management systems,
          including in policies, training, written guidance materials, and data collection
          mechanisms. BPD must now show that its written commitments to community
          policing are being carried out in practice throughout the Department’s operations.
          As discussed in more detail throughout this assessment, because the Community
          Policing section of the Consent Decree does not specify the manner in which BPD must
          accomplish this monumental task, this area will be one of primary focus for the
          Monitoring Team in the coming months (specifically, working with the parties to
          determine that BPD is applying quality practices and documenting its efforts in a way
          that the Monitoring Team can evaluate implementation progress).

      •   BPD’s staffing issues continue to be a barrier to reaching BPD’s community
          policing targets, including the Department’s commitment to make every officer a
          community policing officer by allowing them enough time on their shifts to proactively
          engage and problem solve with the communities they serve. BPD will need to
          demonstrate that it has resources dedicated to more engagement with community
          members to identify and solve community problems.

      •   BPD has taken notable strides to begin recording and reviewing quantitative data
          on some of its officers’ day-to-day community policing activities. BPD will need to
          find ways to assess qualitative data reflecting the impact of longer-term
          community policing efforts and community policing outcomes (i.e., the cause and
          effect resulting from the Department’s community policing efforts).

      •   Despite implementation challenges, the City and BPD’s Neighborhood Policing
          Plan program appears to be a promising path to increasing BPD’s positive
          engagement with the community, connecting residents to City services they need to
          enhance public safety and security, and collaborating with the community to identify
          and solve problems. The City and BPD should follow the recommendations of the
          independent evaluator of the pilot program prior to expanding the program citywide.

More specificity regarding how BPD can advance toward compliance with the particular
requirements of the Community Policing section of the Consent Decree are included in their
respective sections below.




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II.    BACKGROUND

Community policing is a philosophy that promotes the “systematic use of partnerships and
problem-solving techniques to proactively address the immediate conditions that give rise to public
safety issues such as crime, social disorder, and fear of crime.”1 Effective community policing
depends on the trust and cooperation of community members. In many of Baltimore’s
neighborhoods, mistrust in the police has traditionally run high. BPD has faced considerable
challenges in engaging in effective community policing, especially in some of the City’s most
underserved communities.

       A.      The Department of Justice’s Investigative Findings

In May 2015, the Civil Rights Division of the United States Department of Justice (“DOJ”)
initiated an investigation of the Baltimore Police Department. The investigation, completed in
2016, found that BPD was engaged in a pattern-or-practice of constitutional violations, including
using excessive force, infringing on the First Amendment freedoms of speech and assembly, and
stopping, searching, and arresting people in violation of the Fourth Amendment and based on their
race.

Among its findings, the DOJ concluded that “BPD fail[ed] to engage in effective community
policing” and that “through all levels of the Baltimore Police Department, from members of
command staff down to officers on the street, the Department has not implemented fundamental
principles of community policing.”2 DOJ concluded that “to remedy the constitutional violations
[] found in [its] investigation, a comprehensive community policing strategy must be a central
component of police reform in Baltimore.”3

Related to BPD’s community engagement, the investigation concluded “the relationship between
the Baltimore Police Department and many of the communities it serve[d was] broken.”4




1 U.S. Dep’t of Justice Community Oriented Policing Services, Community Policing Defined,

2014, https://portal.cops.usdoj.gov/resourcecenter/RIC/Publications/cops-p157-pub.pdf (last
accessed Aug. 11, 2023).
2 U.S. Department of Justice, Investigation of the Baltimore Police Department, Aug. 10, 2016,

https://www.justice.gov/crt/file/883296/download (“DOJ Findings Letter”) at 156 (last accessed
Aug. 11, 2023).
3 Id.
4 Id. at 157.




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       B.      Consent Decree Requirements

After the DOJ issued its findings, the City, BPD, and DOJ agreed to enter into a consent decree,
which is a court-approved settlement agreement that obligates BPD and the City to adopt a
comprehensive set of reforms designed to promote fair and constitutional policing (“CD” or “the
Consent Decree”).5 The federal judge overseeing the Consent Decree appointed a Monitoring
Team to assist in overseeing the implementation of the Consent Decree. The Monitoring Team is
required to conduct compliance reviews to determine whether the City and BPD have complied
with the Consent Decree requirements. 6

Consent Decree Paragraphs 15 through 22 include specific requirements intended to promote both
community policing and community engagement. Preliminarily, the Consent Decree requires
issuance of a new mission statement that integrates community-oriented principles into BPD
“management, policies and procedures, recruitment, training, personnel evaluations resource
deployment, tactics and accountability systems” (CD ¶ 15). Further, the Consent Decree requires
BPD and/or the City to:

   •   Annually train officers and supervisors on how to use community and problem-oriented
       policing in their day-to-day work (CD ¶ 16);

   •   Encourage patrol officers to be familiar with the geographic areas they serve, engage with
       community members, engage in problem identification and problem-solving activities
       around community priorities, and work proactively to address quality-of-life issues in a
       manner that minimizes stops, citations, searches, arrests, and uses of force (CD ¶ 17);

   •   Collect and evaluate specified types of the data to gauge whether community policing
       objectives are being met (CD ¶ 18);

   •   Develop and implement community-engagement plans to create opportunities for routine
       and frequent positive interactions between officers and community members (CD ¶ 19);

   •   Solicit input from community groups on policies, practices, training, engagement
       programs, and enforcement strategies (CD ¶ 20);

   •   Develop a community outreach program to educate and communicate with City residents
       about the Consent Decree (CD ¶ 21); and



5 See generally Dkt. 2-2.
6 CD ¶ 454.




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   •   Publish annual reports on BPD’s community policing efforts (CD ¶ 22).

       C.      Summary of BPD’s Implementation To-Date

This report is the Monitoring Team’s first comprehensive compliance assessment in the area of
community policing and community engagement. However, the Monitoring Team has been
tracking BPD’s efforts in this area on an ongoing basis and providing technical assistance as
appropriate to help BPD implement the required reforms.

The Monitoring Team recently summarized in our December 2022 Second Comprehensive
Reassessment the efforts BPD has made toward complying with the community policing and
engagement requirements since the Consent Decree was entered in 2018:7

       •       Issued a new and revised mission statement;
       •       Prepared a comprehensive Community Policing Plan, issued in 2020, with input
               from community members;
       •       Sought and obtained input from community members on numerous policies and
               training curricula;
       •       Published annual reports on community policing accomplishments, engagement,
               and challenges;
       •       In conjunction with community partners and other City agencies, piloted
               Neighborhood Policing Plans in two Baltimore neighborhoods;
       •       Delivered a two-day, in-service training Department-wide on community policing
               and addressing low-level offenses, which included community facilitators from
               Reconcile Baltimore, the Mayor’s LGBTQ Commission, and Baltimore
               Community Mediation Center;
       •       Established a module devoted to community policing in the Field Training Officer
               certification program;
       •       Developed dispatch codes to capture the time officers spend engaging in certain
               activities other than calls for service;
       •       Incorporated community policing principles into performance evaluations; and
       •       Created an award for problem-solving, alongside new awards for de-escalation and
               peer intervention and added community policing as a category for commendations.

The Monitoring Team spent much of the first four years of the Consent Decree providing BPD
with technical assistance to develop the foundation for these reforms (e.g., policy writing, training

7 Monitoring Team’s Second Comprehensive Reassessment, Dec. 22, 2022, Dkt. 586 (“Second

Comprehensive Reassessment”), at 88. The Monitoring Team’s reports are also available at
https://www.bpdmonitor.com/resources-reports.



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curriculum development and instructional feedback, and improvements in core operations). We
have now shifted focus to what the Consent Decree refers to as “compliance reviews” and
“outcome assessments.” The purpose of these evaluations is to gauge whether BPD officers are
adhering to policy and training in the field and whether BPD is effectively implementing the
required structural and operational reforms.

III.   SCOPE OF THE REVIEW & DETERMINING COMPLIANCE STATUS

This assessment is a Compliance Review (i.e., a qualitative evaluation of BPD performance)
conducted pursuant to Consent Decree ¶ 454. The Monitoring Team has previously described this
assessment type:

       Compliance reviews are . . . evaluations of BPD performance in different areas of
       the Consent Decree. They are conducted with an eye toward determining how far
       BPD has come, and how far it still needs to go, to achieve compliance with
       [particular] Consent Decree requirements . . . . 8

       A.     Compliance Scoring

The Monitoring Team, in collaboration with BPD and DOJ, has previously adopted and used a
standardized way of scoring BPD’s performance in its effort to fully implement the Decree’s many
requirements:

       0 – Not Assessed: The Monitoring Team has yet to assess if the City/Department
       has made progress or complied with the requirement.

       1 – Not Started: The City/Department has not yet demonstrated progress toward
       implementing the requirement, possibly in order to work on other, necessary
       projects.

       2 – Planning/Policy Phase: The City/Department is addressing the planning
       and/or policy provisions for the requirement.

       3 – Training Phase: The City/Department is addressing the training provisions for
       the requirement, based on approved policy.

       4 – Implementation Phase: The City/Department is in the implementation phase
       for the requirement, having developed any required plan or policy and conducted
       any required training, but has not yet demonstrated compliance with the

8 Monitoring Team’s Fourth Semiannual Report, Jan. 21, 2020, Dkt. 279-1 at 22–23.




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       requirement.

       4a – Implementation - Not Assessed: The City/Department has initiated the
       implementation phase for the requirement, but the Monitoring Team has not yet
       assessed the City/Department’s progress in implementation.

       4b – Implementation - Off Track: The City/Department is not making
       satisfactory progress toward compliance with the requirement.

       4c – Implementation - On Track: The City/Department is making satisfactory
       progress toward compliance with the requirement.

       4d – Implementation - Initial Compliance: The City/Department has
       demonstrated compliance with the requirement but has not yet demonstrated
       compliance with all requirements of the section of the Consent Decree in which it
       is included.

       5a – Full and Effective Compliance: The City/Department has demonstrated
       compliance with all requirements in a Consent Decree section but has not yet
       sustained compliance for the time period specified in paragraph 504 of the Consent
       Decree. This score applies only to an entire Consent Decree section, not to
       individual requirements within a section.

       5b – Sustained Compliance: The City/Department has demonstrated sustained
       compliance with all requirements in a Consent Decree section by consistently
       adhering to all such requirements for the time period specified in paragraph 504 of
       the Consent Decree.

The Monitoring Team has conducted continuous, informal evaluations on Consent Decree
requirement progress pertaining to community policing and engagement, including on BPD’s
mission statement, Community Policing Plan, and community policing training. Based on these
ongoing evaluations, the Monitoring Team reported in our Second Comprehensive Reassessment
that BPD had preliminarily achieved a progress score of 4c (Implementation on Track) on most of
the requirements related to community policing and engagement. 9 The present report is, however,
the first detailed and formalized determination of BPD’s compliance status in these areas.

The BPD, the DOJ, and the Monitoring Team agree that BPD has much work left to do to come
into compliance with the community policing and engagement requirements. Thus, though the

9 Second Comprehensive Reassessment, at 91; Compliance Assessment Spreadsheet, Dec. 22,

2022, Dkt. 586-2, at 2.



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present report addresses the progress BPD has made to move from working to implement the
Decree’s requirements to having successfully implemented those requirements in practice (i.e.,
whether BPD has progressed to a score of 4d, Initial Compliance), the report’s primary purpose
is to identify where the gaps remain and identify steps needed for BPD to come into Initial
Compliance.10

       B.      Determining Initial Compliance

The Consent Decree provides that “[n]o specific numerical test shall be required” to demonstrate
compliance “so long as BPD is demonstrating substantial adherence with the Material
Requirements, continual improvement, and the overall purpose of the Material Requirements has
been met.”11 To determine whether BPD is in Initial Compliance (Score 4d) with a material
requirement of the Decree, the Monitoring Team weighs the following factors across the Decree’s
various areas and many requirements:

            1. The quality of BPD’s performance across a material span of time, number of
            incidents/events, and number of officers. Successfully carrying out a requirement in
            practice requires more than meeting expectations on one day, in one case or event, or
            for one officer. Instead, it requires that BPD adhere to Decree requirements across a
            material span of time, number and/or portion of incidents, and number of officers. In
            this way, isolated compliance does not establish “Initial Compliance” in practice. At
            the same time, however, isolated non-compliance does not, by itself, eliminate the
            possibility of systemic compliance. The issue is whether, across time, events, and
            people, BPD is, in aggregate, sufficiently doing what the Decree requires. For some
            requirements that are applicable only to a relatively small absolute number of incidents
            or circumstances, performance in a single instance may weigh more significantly than
            it would in connection with a more commonly implicated requirement.

            2. The severity or significance of deviations from Consent Decree requirements,
            BPD policy, and/or law. The Monitoring Team considers not simply whether BPD’s
            performance has deviated in some instances from the Decree’s requirements but also
            the severity or significance of that deviation. Several minor or more technical
            deviations from administrative requirements may be different in quality than a single
            significant or gross deviation from core requirements for officer performance in the
            field. Likewise, deficient performance in connection with less foundational


10 See CD ¶ 506 (indicating that Initial Compliance with any material requirement of the Consent

Decree involves evaluating whether a given requirement “is being carried out in practice by
BPD”).
11 Id.




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            requirements or issues may be different in quality than deficient performance in
            connection with significant requirements or issues.

            3. The extent to which BPD is identifying and appropriately addressing
            problematic performance. In its focus on accountability, supervision, and
            mechanisms for fostering critical self-analysis within BPD, the Consent Decree
            expressly contemplates that a BPD in compliance with the Decree will have
            mechanisms in place to engage with Departmental and officer performance that is
            deficient in some way. Therefore, the Monitoring Team’s compliance reviews consider
            whether, when BPD personnel have deviated from policy, law, or Decree requirements,
            the Department has identified the deviation and, if so, if it has appropriately addressed
            the issue. With respect to Consent Decree implementation and meaningful
            organizational change, the Department is in a different condition if a policy deviation
            is identified and appropriately addressed than if the deviation goes unnoticed and
            unaddressed.

            4. BPD’s progress over time. Where possible, the Monitoring Team aims to situate
            its evaluation of BPD’s performance in terms of progress over time. Steady
            improvement may suggest positive, meaningful adoption of Consent Decree
            requirements in a way that erratic swings in performance over time may not.

We note that the present report will reflect that certain of the City and BPD’s scores have moved
from 4d (Initial Compliance), as reflected in the Monitoring Team’s recent semiannual reports, to
4c (Implementation on Track). As we noted in a prior report, “this does not represent
backsliding.”12 Rather:13

         The simple explanation is that, for this small number of requirements, the
         Monitoring Team gave a score of initial compliance in the last report because BPD
         had adopted policies and conducted training that satisfied the plain language of
         these requirements. However, while completing our first comprehensive use of
         force assessment . . . we recognized that these provisions cannot simply be about
         policy; they are also about performance—about demonstrating adherence to policy.
         Accordingly, we determined that, to establish initial compliance. . . , BPD not only
         must show that it has adopted the pertinent policies, but also must demonstrate
         through officers’ actions on the street that, as an agency, it is complying with the
         policies. Otherwise, the reforms the Consent Decree requires would be nothing
         more than “paper” reforms, with no obligation to police constitutionally.


12 Second Comprehensive Reassessment, at 7.
13 Id.




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       C.      Assessment Sources and Evaluation Techniques

Though the Community Policing section of the Consent Decree contains only a few paragraphs,
their content is far-reaching and will have an impact on many areas of BPD’s operations.
Compliance with these paragraphs will require significant effort on the City and BPD’s parts and
will not happen overnight. Our approach for this evaluation was to take a higher-level view of the
work BPD is doing in this space and to provide guidance on more specific evaluation techniques
we intend to use for future evaluations. That is, although we evaluate BPD’s compliance status,
the primary value of this report is establishing a starting point by identifying where BPD should
focus its efforts to achieve and demonstrate compliance.

The Consent Decree does not prescribe any specific outcome assessment for community policing.
This compliance review evaluates BPD’s current practices, and corresponding documentation,
data, and, where practicable, observations, to determine whether the requirements of the
paragraphs are being implemented in practice. The Consent Decree requires that “BPD will bear
the burden of demonstrating by a preponderance of the evidence its Full and Effective
Compliance.”14

In addition, to understand more about officers’ candid thoughts, opinions, and perceptions about
community policing and engagement and problem-oriented policing, the Monitoring Team, with
assistance from BPD, fielded an anonymous electronic survey of BPD members in Spring 2023.
The content of the survey spanned the eight paragraphs central to the assessment. Participation in
the survey was voluntary. BPD asked members across ranks to participate through Department-
wide communications. A total of 293 BPD members provided a response to at least one survey
question. Not all members who began the survey completed it or answered every question.

Finally, to gain perceptual and experiential insight about community policing, the Monitoring
Team conducted a series of 16 informal virtual and in-person focus groups and interviews in
Spring 2023 with a total of approximately 112 BPD officers, supervisors, community
members, advocates, community association members, and several of BPD’s community and
City program partners. The solicitation for these focus groups emphasized that the Monitoring
Team sought to solicit feedback from individuals with firsthand experience in BPD’s community
engagement efforts, particularly community meetings, day-to-day engagement, and
implementation of the Neighborhood Policing Pilots. To promote candor, participants were
informed their identities would be kept anonymous and that feedback they provided would not be
attributable to any individual or identifiable group.


14 CD ¶ 493; Legal Information Institute, https://www.law.cornell.edu/ (last accessed Aug. 11,

2023) (“Under the preponderance standard, the burden of proof is met when the party with the
burden convinces the fact finder that there is a greater than 50% chance that the claim is true.”).



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IV.    EVALUATION OF COMPLIANCE WITH PARAGRAPHS 15 THROUGH 22

This section provides the Monitoring Team’s evaluation of the City and BPD’s compliance with
Consent Decree Paragraphs 15 through 22. The review focuses primarily on the City and BPD’s
efforts during calendar years 2021 and 2022, though some earlier and more recent work is also
discussed where relevant to the compliance determinations.

A table summarizing the paragraph-level compliance scores is included in the last section of this
report.

       A.     Paragraph 15

       BPD agrees to ensure its mission statement reflects its commitment to community-
       oriented policing and agrees to integrate community and problem-oriented policing
       principles into its management, policies, and procedures, recruitment, training,
       personnel evaluations, resource deployment, tactics, and accountability systems.

The Consent Decree requires BPD to: (1) ensure its mission statement reflects a commitment to
community-oriented policing, and (2) integrate community and problem-oriented policing
principles into its management, policies, and procedures, recruitment, training, personnel
evaluations, resource deployment, tactics, and accountability systems.

BPD has made significant progress in thoughtfully memorializing how it will integrate its
commitment to community policing into the myriad areas of the Department’s operational and
management systems, including in policies, training, written guidance materials, and data
collection mechanisms. As discussed below, BPD has also demonstrated that some of these written
commitments are being carried out in practice. The efforts taken thus far are extensive, and we
deem the progress BPD has made commendable. The Monitoring Team finds encouraging that, in
an anonymous officer survey, a majority of respondents (75.5%) who answered the question of
whether BPD integrates the community policing philosophy into its overall approach agreed or
strongly agreed.

As noted in our Second Comprehensive Reassessment, however, to reach Initial Compliance “BPD
not only must show that it has adopted the pertinent policies, but also must demonstrate through
officers’ actions on the street that, as an agency, it is complying with the policies.”15 Initial




15 Second Comprehensive Reassessment, at 7.




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Compliance with CD ¶ 15 will require BPD to show that its written commitments to community
policing are “being carried out in practice”16 in the areas the paragraph delineates.

               1.     Mission Statement

CD ¶ 15 first requires BPD to “ensure its mission statement reflects its commitment to community-
oriented policing.” BPD’s current mission statement, as written, complies with this requirement.

After extensive collaboration with the Monitoring Team and DOJ, in 2018 BPD published a
revised mission statement, which provided that BPD was “committed to community-oriented
policing, through which we engage in problem-solving partnerships with community members and
organizations to develop proactive solutions and increase community trust in police.” 17 BPD
revised the mission statement again in 2021, which now states “the Department’s commitment to
constitutional, community-oriented policing and the adoption of community policing as a
philosophy that permeates through all aspects of BPD operations.” 18

               2.      Integration into BPD Systems

CD ¶ 15 also requires BPD to “integrate community and problem-oriented policing principles into
its management, policies, and procedures, recruitment, training, personnel evaluations, resource
deployment, tactics, and accountability systems.” In 2020, BPD released its Community Policing
Plan, which outlined the Department’s blueprint for organizational redesign, building community
partnerships, problem solving, building analytical capacity, and district crime plans. 19 The Plan
also delineated BPD’s framework for integrating a community policing philosophy throughout the
Department:




16
   CD ¶ 506 (“To achieve ‘Full and Effective Compliance,’ the City and BPD must demonstrate
that they have (a) incorporated all Material Requirements of this Agreement into policy, trained
relevant personnel as necessary to fulfill their responsibilities pursuant to the material
requirements, and ensured that each material requirement is being carried out in practice”).
17 BPD’s Mission and Vision Statement, July 3, 2018, Dkt. 119-1. BPD updated the Mission

Statement in 2019 to promote further transparency in BPD’s operations; the language regarding
community policing was not changed.
18 BPD Policy 305, Department Mission and Vision,               Dec. 18, 2021, available at
https://www.baltimorepolice.org/transparency/bpd-policies/305-department-mission-and-vision.
19 BPD’s Community Policing Plan, Apr. 1, 2020, Dkt. 304-1 (“Community Policing Plan”).




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Figure 1.      BPD Framework for Integrating Community Policing Philosophy
               throughout the Department




Source: BPD Community Policing Plan, at 11

In implementing the framework in Figure 1, BPD has made progress integrating community
policing principles in each of the systemic areas specified in Paragraph 15 (i.e., management,
policies and procedures, recruitment, training, personnel evaluations, resource deployment, tactics,
and accountability systems).

For the present review, the Monitoring Team and the parties agreed to a review methodology that
focuses on four of these areas: (1) recruitment; (2) personnel evaluations; (3) training; and (4)
accountability.20 In future assessments, the Monitoring Team will continue to monitor BPD’s

20
  The Consent Decree does not prescribe specific evaluation metrics the Monitoring Team must
apply to evaluate the Community Policing section. For purposes of this first assessment of the
Community Policing section, the parties and Monitoring Team agreed to a limited review
methodology. As noted above, the report’s primary purpose is to identify where the gaps remain
and identify steps needed for BPD to come into Initial Compliance. For future assessments, the
Monitoring Team will work with the parties to create detailed evaluation methodologies that
outline specific and appropriate metrics and assessment sources as needed to evaluate the material
requirements of the section. In so doing, the Monitoring Team will consider whether, and to what
extent, it is appropriate and/or preferable to evaluate BPD’s community policing efforts as part of
our assessments of other sections (e.g., Recruitment, Hiring and Retention and Supervision).



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progress integrating community policing principles in its recruitment, personnel evaluations,
training, and accountability systems. In addition, the Team will also begin assessing BPD’s
progress integrating community policing principles in the other systemic areas specified in
Paragraph 15: policies and procedures, management, resource deployment, and tactics.

Here, this report provides a brief overview of BPD’s accomplishments so far and what the
Monitoring Team anticipates BPD should expect to demonstrate for Initial Compliance.

Recruitment. BPD’s Community Policing Plan did not provide for any specific action related to
recruitment. However, BPD has made notable efforts to revamp its officer recruitment strategy to
emphasize serving the community with “empathy and integrity” and committing to “the work
needed to help communities thrive in the city you care about.” 21 The new recruitment campaign,
entitled “Join for Good,” also highlights the importance of meaningful police-community
relationships, through, for example, officer testimonials: 22




Source: BPD Recruiting Website

The Monitoring Team also reviewed samples of recruitment flyers, brochures, and promotional
videos that BPD provided. All these materials reflected the “Join for Good” ethos.


21 See BPD recruiting website, https://bpdrecruit.org/ (last accessed Aug. 11, 2023).
22 Id.




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BPD’s published police officer job description likewise emphasizes that new officers are expected
to be “proactive member[s] of our Department, engaging in community-oriented policing” and
that “[t]he ideal candidate is someone who is committed to public service, constitutional policing,
and making a positive impact on Baltimore communities; is a person of integrity; and has strong
communication skills.”23

These are positive steps toward integrating community policing principles into BPD’s recruitment
systems. However, to reach Initial Compliance, BPD will need to demonstrate (through, e.g., an
audit of recruiting files and surveys/interviews with prospective candidates) whether the CPOP
principles have carried beyond the promotional materials and have permeated BPD’s actual
recruitment practices.

Personnel Evaluations. BPD likewise revamped its personnel evaluations process to now reflect
integration of community policing principles. Consistent with the goals set forth in the Community
Policing Plan, on December 5, 2022, BPD issued Policy 1708, Sworn Performance Evaluation.24
The policy requires that community policing is one of nine performance-of-duty areas for which
officers, sergeants, and lieutenants must be annually evaluated. 25 The policy instructs evaluators
to “recognize exceptional performance, and any areas of particular growth and achievement,
especially in the area of Community Policing.” 26

BPD also provided the Monitoring Team a draft of an accompanying Evaluation Manual, which
provides additional guidance about how evaluators should assess members’ community policing
efforts in the performance evaluations. The draft Manual states that evaluators should assess the
officers’ knowledge of the Community Policing Plan, understanding of the neighborhoods they
serve, trust building and courtesy, ability to create partnerships and positive interactions, and
address community priorities and concerns.

To reach Initial Compliance, BPD will need to demonstrate (through, e.g., an audit of completed
personnel evaluations) whether these new procedures are being carried out in practice, such that
evaluators are meaningfully assessing members’ community policing efforts on a regular basis.




23         BPD        Police      Officer      Job        Description,     available      at
https://baltimorecity.wd1.myworkdayjobs.com/en-US/External/details/Police-Officer---
Baltimore-City-Police-Department_R0000688 (last accessed Aug. 11, 2023).
24 BPD Policy 1708, Sworn Performance Evaluation, Dec. 5, 2022, available at

https://www.baltimorepolice.org/transparency/bpd-policies/1708-sworn-performance-evaluation
(last accessed Aug. 11, 2023).
25 Id. at Page 3.
26 Id. at Page 8.




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Accountability. BPD’s Community Policing Plan calls for one primary measure to hold members
and the organization accountable for integrating community policing principles throughout the
Department: incorporating community policing metrics into COMSTAT, a “performance
management system that is used to reduce crime and achieve other police Department goals” by
emphasizing “information-sharing, responsibility and accountability, and improving
effectiveness.”27 Specifically, the Community Policing Plan requires that:28

   •   COMSTAT will serve as a forum to identify areas that need improvement, develop
       strategies for improvement, and “[r]ecognize successes in Community Policing to share
       with other districts for possible replication”;

   •   Officers will abide by the new requirements to document their Community Policing
       activities outlined in the Community Policing Plan;

   •   The Department’s Data-Driven Strategies Division will build a community policing
       dashboard for COMSTAT to allow for continual monitoring and accountability of
       community policing activities;

   •   The Department’s Performance Standards Section will conduct performance reviews of
       body-worn camera footage and reports, which will be a regular part of COMSTAT, to
       “assess procedural justice and compliance with” the Community Policing Plan and
       Department policies;

   •   District command will present on the implementation of the Neighborhood Policing Plans
       regularly at COMSTAT; and

   •   Executive command will “regularly recognize officers for outstanding Community
       Policing in COMSTAT to praise exemplary officer performance and reinforce the
       foundational importance of Community Policing in improving the Department”.

To evaluate the extent to which COMSTAT is serving the necessary function, the Monitoring Team
reviewed sample presentations from three 2022 COMSTAT meetings that BPD provided. The
Monitoring Team also regularly attends BPD’s weekly COMSTAT meetings.




27 Bureau of Justice Assistance and Police Executive Research Forum, COMPSTAT: Its Origins,

Evolution,       and      Future      in   Law       Enforcement     (2013),    available      at
https://bja.ojp.gov/sites/g/files/xyckuh186/files/Publications/PERF-Compstat.pdf, at 2      (last
accessed Aug.11, 2023). BPD’s version of the program is entitled COMSTAT.
28 Community Policing Plan, at 17.




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BPD’s COMSTAT meetings follow a standardized format week to week. As it relates to
community policing, the districts rotate each week to present and field questions on crime and
police activity statistics. As illustrated in the below snapshot from a COMSTAT presentation,
districts are also asked to present specifically on the district’s levels of proactivity versus crime:

Figure 2.      Sample COMSTAT Presentation Slide




Source: BPD

The districts also present on similar statistics at the “microzone” (high-crime priority areas) and
team-level activity.

Based on the Monitoring Team’s observations of COMSTAT meetings and review of historical
COMSTAT materials, the Team concludes that BPD’s COMSTAT meetings are an effective tool
for maintaining internal visibility and accountability over certain officer activities. The Monitoring
Team will continue to evaluate the COMSTAT meetings, or other performance management
systems BPD institutes, to ensure they incorporate community policing principles.

Though the present evaluation focuses on BPD’s performance management, the Consent Decree
contemplates that:29

       A well-functioning accountability system is one in which BPD: openly and readily
       receives complaints reported by civilians and officers and fully, fairly, and

29 CD ¶ 329.




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       efficiently investigates them; supports all investigative findings by the appropriate
       standard of proof and documents them in writing; holds accountable all officers
       who commit misconduct pursuant to a disciplinary system that is fair, consistent,
       and provides due process; and treats all individuals who participate in BPD’s
       internal disciplinary process—including complainants, officers, and witnesses—
       with respect and dignity.

For Initial Compliance, then, BPD will need to demonstrate that its misconduct/disciplinary system
also integrates the concepts of community and problem-oriented policing. BPD is on its way to
achieving such; as noted in our evaluation of CD ¶ 16, BPD created a Department-wide training
on misconduct and discipline for 2022, which included material on community policing. BPD must
show that members are applying the training in practice (through, e.g., an audit of complaint
investigations).

Training. CD ¶ 16 requires BPD to deliver annual community policing training that addresses a
variety of specific topics. This report provides a detailed evaluation of BPD’s community policing
training in our evaluation of Paragraph 16 below. In short, BPD has created and delivered high-
quality annual in-service training curricula that is designed to transform community policing from
theory into practice. In future assessments, the Monitoring Team will continue to evaluate this
requirement in tandem with CD ¶ 16.

Policies and Procedures. BPD’s Community Plan indicates the Department’s intent to revise “all
of its policies and procedures to ensure they reflect Community Policing principles and national
best practices.”30 As discussed in our Second Comprehensive Reassessment, 31 BPD revised all its
core policies—more than 50 in total—and is now beginning to re-examine them, as the Consent
Decree requires, to determine whether any updates are necessary. These policies reflect best
practices and are among the most comprehensive municipal police policies in the nation.

As it relates to community policing, notable revisions to BPD’s policies and procedures include
BPD’s publication of Policy 1712, Departmental Awards and Commendations,32 in August 2021.
The updated policy adds Community Policing as a category for commendation to recognize
meritorious service. 33 Specifically, directive 46 of the policy provides that a problem-solving
ribbon may be awarded to “sworn or civilian personnel for a notable achievement resulting in
increased community trust and collaboration, improved planning and execution of community

30 Community Policing Plan, at 13.
31 Second Comprehensive Reassessment, at 10.
32 BPD Policy 1712, Departmental Awards and Commendations, Aug. 2, 2021, available at

https://www.baltimorepolice.org/transparency/bpd-policies/1712-departmental-awards-and-
commendations (last accessed Aug. 11, 2023).
33 Id. at Page 7.




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policing strategies, substantial savings in operational costs, or an enhanced quality of life for a
specific Baltimore community.”34

In future assessments, the Monitoring Team will review documentation to evaluate whether BPD
continues to review (and, if necessary, revise) its policies to ensure the policies and procedures
integrate concepts of community policing on an ongoing basis.

Management. The Community Policing Plan mandated an “organizational redesign” intended to
promote community policing. The changes include two primary components related to
management: (1) organizational “flattening,” i.e., streamlining chain of command to increase
individual accountability and improve lines of communication, and (2) centralizing coordination
for Department-wide community policing and placing this responsibility with the Patrol Support
Services Division. BPD’s updated organizational chart reflects this new structure.35

In addition, the Community Policing Plan denotes specific responsibilities related to community
policing for managers:36

     •   District Sergeants are required to “focus on the management of Officers . . . to ensure
         members during their tour of duty are meeting their requirements on a daily basis”; “build
         relationships with residents, community groups, and businesses”; ask officers in their
         command about ongoing problems in their districts and connect Neighborhood
         Coordination Officers to these problems to promote problem-oriented policing; and
         “regularly emphasize Community Policing in roll calls.”

     •   District Lieutenants are required to “specifically ensure[] the deployment of proactive
         Community Policing strategies in high crime areas”; review samples of officers’ day-to-
         day engagement activities and body-worn camera footage and provide feedback; review
         performance evaluations “to ensure appropriate guidelines of Community Policing are
         addressed”; and attend community meetings to “work proactively with the community on
         problem solving and crime prevention.”

     •   District Commanders are required to “collaborate” with supervisors in their command “to
         determine the appropriate resources needed to address recurring problems”; “[r]ecognize
         Officers for outstanding Community Policing efforts on a monthly basis”; “[w]ork to build
         relationships and partnerships with community members and entities throughout the

34 Id.
35      BPD      Organizational     Chart,       dated     March     2023,    available   at
https://www.baltimorepolice.org/sites/default/files/2023-03/Org Chart - March 2023 - Web.pdf
(last accessed Aug. 11, 2023).
36 Community Policing Plan, at 25-30.




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         district”; and have final responsibility for creating Neighborhood Policing Plans and
         ensuring their implementation.

    •    Executive Command are required to “ensur[e] an organizational orientation around
         Community Policing efforts that align with the Department’s Staffing Plan”; regularly
         recognize and commend notable community policing efforts occurring throughout the
         Department; identify and support partnerships with community stakeholders to “coordinate
         cross-sector responses to problems”; and hold Department leadership accountable for
         implementation of the Department’s community policing priorities.

To reach Initial Compliance, BPD will have to demonstrate how, and to what extent, BPD’s
organizational redesign has resulted in the Department’s stated goal of “institutionalizing the
philosophy of Community Policing,”37 through, e.g., officer/supervisor focus groups and surveys
and documentation demonstrating compliance with the supervisor responsibilities stated in the
Community Policing Plan (or any reasonable adjustments BPD makes to improve its capacity to
integrate community policing principles throughout the Department).

Resource Deployment. In addition to the management changes discussed above, the Community
Policing Plan prescribes several other measures to address resource (i.e., staffing) deployment for
community policing:38

    •    Dedicated Patrol Time. As prescribed by the Department’s staffing plan,39 BPD “seeks to
         increase patrol staffing to allow patrol officers to spend at least 40% of their time engaging
         in proactive and Community Policing.”

    •    District Coordination. Each district is to be assigned at least one Neighborhood
         Coordination Officer (NCO) “to provide district-level support in implementing
         Community Policing and will serve as the district lead in addressing recurring problems
         through Problem-Oriented Policing.”

    •    Department Coordination. Patrol Support Services is assigned as the Department’s “central
         coordinating entity” for the implementation of the Community Policing Plan and “all
         related community initiatives.”

    •    Data Analysts. The Data-Driven Strategies Division is assigned to “work collaboratively
         with district personnel and the Patrol Support Services Division to ensure community


37 Id. at 7.
38 Id. at 11.
39 See BPD’s 2022 Staffing Plan Update, Aug. 18, 2022, Dkt. 533-1.




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       problem analyses include relevant data” and to “facilitate data-driven analyses of whether
       problem-solving strategies are effective.”

Currently, the City of Baltimore, BPD, DOJ, and the Monitoring Team all agree that BPD’s current
staffing levels and implicated resource deployment strategies are continuing to serve as a barrier
toward implementing the Community Policing Plan’s goals, particularly regarding officers having
at least 40% of their time devoted to proactive, community policing. As the Monitoring Team has
previously recommended, to address its staffing shortages, BPD must:40

   •   Aggressively implement the recommendations in the current Staffing Plan, which calls for
       reducing call volume and workload for Patrol by reducing false alarms by 25%, diverting
       25% of traffic accident management to a third-party vendor, reducing “other” calls for
       service by 25%, diverting 50% of larceny calls to online or telephone reporting, and
       diverting 25% of disorderly conduct calls for service;

   •   Implement the civilianization targets in the current Staffing Plan by beginning to fill the
       civilian positions created for investigative specialists, who work alongside detectives and
       assist in tasks that do not require law enforcement powers, including database review,
       investigative research, and report writing;

   •   Continue to think innovatively about other traditional sworn officer functions that civilians
       can serve;

   •   Continue to use creative means to retain officers and recruit new ones; and

   •   Continue to improve job quality to support employee retention.

Tactics. BPD’s community policing training provides officers specific guidance on problem-
oriented policing tactics in a module on daily and in-depth problem solving. The training focuses
on teaching officers specific tactics and skills that they can use to apply CPOP principles and
practices, including procedural justice, interpersonal skills, and fair and impartial policing to their
tactics.

To demonstrate Initial Compliance, BPD will have to show (through, e.g., an audit of reports and
associated body-worn camera footage from officers’ field interactions) that trained CPOP
principles are being applied in practice.




40 Second Comprehensive Reassessment, at 21-22.




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               3.     Conclusion

BPD has developed a framework for integrating a community policing philosophy throughout the
Department but has not yet completed implementing it. Therefore, BPD’s compliance status for
Paragraph 15 is 4c – Implementation on Track. In future assessments, the Monitoring Team will
continue to monitor BPD’s progress integrating community policing principles in its recruitment,
personnel evaluations, training, and accountability systems. In addition, the Team will also begin
assessing BPD’s progress integrating community policing principles in the other systemic areas
specified in Paragraph 15: policies and procedures, management, resource deployment, and tactics.

       B.      Paragraph 16

       On an annual basis, BPD will provide eight hours of cumulative, structured in-
       service training on community policing and problem-oriented policing methods and
       skills for all officers, including supervisors, managers and executives, that shall
       include:

             a. Methods and strategies to improve public safety and crime prevention
                through community engagement, including how to establish formal
                partnerships with community organizations, how to work with
                communities to set public safety and crime prevention priorities, and how
                to create opportunities for positive interactions with, among others,
                Youth, LGBT, homeless, and mental health organizations and
                communities;
             b. Scenario-based training that promotes the development and strengthening
                of partnerships between the police and community;
             c. Leadership, ethics, and interpersonal skills;
             d. Problem-oriented policing tactics;
             e. Principles of procedural justice and its goals;
             f. Conflict resolution, including verbal de-escalation of conflict;
             g. Cultural awareness and sensitivity training that addresses the history and
                culture of Baltimore’s communities, including the relationship with law
                enforcement; and
             h. Methods, strategies, and techniques to reduce misunderstanding, conflict,
                and complaints due to perceived bias or discrimination.

The paragraph includes eight subsections, each detailing specific requirements for the training. To
evaluate compliance with this paragraph, the Monitoring Team reviewed that the content of the
training contained all the required elements; assessed records to determine whether all required




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personnel completed the training; and assessed whether the Department has institutionalized the
training such that it is occurring on a recurring basis as the paragraph requires.

                1.      2021 In-Service Training

In 2020, BPD worked closely with the Monitoring Team, DOJ and community members to create
a two-day, 10-module, community policing training curriculum that addressed each element of
Paragraph 16’s requirements and went well beyond the eight-hour requirement. The Monitoring
Team and DOJ approved this training in May 2021. 41

As the Monitoring Team noted in our approval of the training:42

         Its ten modules appropriately cover why BPD is prioritizing community policing,
         what officers are expected to do to implement BPD’s community policing model
         (as set forth in the previously approved Community Policing Plan), and how
         officers should go about engaging community members and problem-solving in
         order to implement the model. In other words, the curriculum is designed to
         transform community policing from theory into practice, which is one of the
         overarching goals of the Consent Decree. Additionally, the curriculum includes
         instruction on addressing low-level offenses. Thus, consistent with the Consent
         Decree, it reinforces BPD’s “most effective, least intrusive response” policy, which
         emphasizes problem-solving and, where consistent with public safety, alternatives
         to arrest, including warnings, counseling, referrals to community-based services,
         and citations.

In addition, the training curriculum reflected substantial input and feedback from community
members and BPD officers, including BPD’s Community Training Review Committee, which
consisted of one community representative from each police district and other stakeholders in the
criminal legal system. 43

In January 2022, BPD certified to the court that BPD had completed delivery of the training to its
members.44 BPD indicated that of the 2,197 sworn personnel employed at the Department at that
time, the community policing training was completed by 2,119 members as of December 3, 2021,
which “represents the great majority of BPD members presently in full, active duty status.” 45 BPD



41 Notice of Approval of Community Policing Training, May 4, 2021, Dkt. 407.
42 Id.
43 Id.
44 Notice of Delivery of Community Policing Training, Jan. 3, 2022, Dkt. 474.
45 BPD’s Certificate of Delivery, Jan. 3, 2022, Dkt. 474-1.




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indicated that “approximately 5 members were in active, full-duty status during the delivery period
for the training and failed to successfully complete it” and that the failure to complete training was
referred to the Public Integrity Bureau for investigation and appropriate disciplinary action.” 46

An in-depth analysis of the pre- and post- training survey results can be found in the Monitoring
Team’s February 2022 Training Compliance Review and Outcome Assessment, available at
https://www.bpdmonitor.com/resources-reports.

                2.     2022 In-Service Training

As discussed in our Sixth Semiannual Report, after the 2021 training concluded, the Monitoring
Team and community members conducted focus groups to discuss ways BPD could improve the
training.47 In April 2022, the evaluation team issued recommendations that included:

         •   BPD should increase the participation of community residents and Neighborhood
             Coordination Officers (NCOs).
         •   Instruction should emphasize why the training is important.
         •   Instructors should devote more time addressing the concerns expressed by officers in
             class.
         •   Officers needed additional training focused on the implementation of the Community
             Policing Plan.

After the focus groups, BPD drafted curriculum for a 2022 community policing training, which
was piloted in October 2021.48 BPD has since indicated that to satisfy Paragraph 16’s annual
training requirements for 2022, BPD allocated toward Community Policing training: 6.5 hours of
its Youth Interactions training; 4 hours of Community Policing training; and 5 hours of Misconduct
and Discipline training.

On July 31, 2023, BPD certified that all eligible members had completed a two-day, sixteen-hour
in-service training on community policing, de-escalation, and misconduct and discipline, the
curriculum of which was approved by the Monitoring Team and the DOJ.49




46 Id.
47 Second Comprehensive Reassessment, at 92.
48 Id.
49 BPD Notice of Training Certification, July 31, 2023, Dkt. 625; Certificate of Training

Delivery, July 31, 2023, Dkt. 625-1.



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               3.     2023 In-Service Training and Beyond

Per the Sixth Year Monitoring Plan, BPD is scheduled to submit a draft of the 2023 in-service
training for the Monitoring Team and DOJ’s review in Q2 2023.50 BPD is scheduled to deliver the
training Department-wide by the end of the year.

               4.     Conclusion

Because BPD has provided documentation sufficient to certify satisfactory annual delivery of the
training on a recurring basis, it has established Initial Compliance. Therefore, BPD’s compliance
status with Paragraph 16 is 4d – Initial Compliance. To maintain initial compliance, BPD will
need to demonstrate that it is continuing to create and deliver the training each year and that the
training meets the requirements specified in the paragraph. In addition to reviewing training
curricula and attendance records, the Monitoring Team will continue to observe the classes and
evaluate course surveys periodically to ensure continued high-quality delivery and student
engagement.

       C.      Paragraph 17

       BPD will encourage patrol officers to be familiar with the geographic areas they
       serve, including their issues, problems, and community leaders; engage in problem
       identification and solving activities with the community members around the
       community’s priorities; and work proactively to address quality-of-life issues in a
       manner that minimizes stops, Citations, searches, arrests, and use of force
       consistent with the requirements of this Agreement.

BPD has made progress in implementing the requirements of Paragraph 17 and remains on track
in this area. As discussed below, to reach Initial Compliance, BPD will need to demonstrate more
engagement with community members to identify and solve community problems and correct
some data issues preventing a fulsome analysis of BPD’s efforts to address quality-of-life issues
without increasing enforcement measures.

               1.     Neighborhood Familiarity

To evaluate compliance with Paragraph 17’s requirement that BPD “encourage patrol officers to
be familiar with the geographic areas they serve,” the Monitoring Team reviewed BPD’s
Community Policing training and conducted an anonymous survey of sworn members to gauge



50 Sixth Year Monitoring Plan, Apr. 13, 2023, Dkt. 608-1, at 4-5.




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their sentiment on whether the Department is encouraging them to be familiar with the
neighborhoods they serve.

As discussed in our evaluation of CD ¶ 16, BPD’s community policing training addresses the
history of Baltimore communities and police, problem solving, problem-oriented policing, and
procedural justice, such that the Department’s formal instruction to officers encourages them to
participate in frequent engagement with the community to build trust and partnerships to improve
crime-reduction efforts. For example, the 2021 training, which BPD has certified was delivered
Department wide, included modules on policing lesser offenses, how to conduct formal and
informal community engagement, and in-depth and daily problem solving. Based on these training
efforts, BPD has demonstrated Initial Compliance with this portion of Paragraph 17.

The anonymous electronic survey that the Monitoring Team administered to BPD members also
provides informative and encouraging context. The survey asked how familiar the members were
with the issues and problems specific to the geographic areas they served. Of those who responded
to this question, nearly all (96.3%) said they were very familiar or familiar:




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Figure 3.     Officer Familiarity with Geographic Area Served




Source: Monitoring Team Anonymous BPD Officer Survey

A lower percentage, but still a majority (77.5%), strongly agreed or agreed that BPD encouraged
them to become familiar with the geographic area’s specific issues, problems, and community
leaders:




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Figure 4.     Officer Perception of BPD Encouragement of Geographic Area Familiarity




Source: Monitoring Team Anonymous BPD Officer Survey

In future assessments, the Monitoring Team will evaluate whether BPD continues to encourage
patrol officers to be familiar with the geographic areas they serve, through in-service training
and/or other mechanisms BPD may employ. The Team will continue to gauge officer sentiment on
this topic.

The Monitoring Team also recommends that BPD provide officers with more district- and
neighborhood-level standardized guidance than the annual Department-wide training can provide.



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Only 43.8% of the survey respondents reported they were very familiar or familiar with the
community leaders in their geographic areas:

Figure 5.      Officer Perception of Familiarity with Community Leaders




Source: Monitoring Team Anonymous BPD Officer Survey

 In the Community Policing Plan, BPD indicated it would create and distribute to officers District
Profiles to “provide them with an understanding of the resources, problems, and conditions within
the district to deepen officers’ knowledge of the community and facilitate problem solving.”51 The

51 Community Policing Plan, at 14.




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Monitoring Team encourages BPD to implement this initiative, or a similar one, aimed at providing
district- and neighborhood-specific information to officers, particularly about the community
leaders in their districts.

                  2.    Problem Solving with Community

CD ¶ 17 also requires BPD to “engage in problem identification and solving activities with the
community members around the community’s priorities.” BPD’s Community Policing Plan
outlines three primary strategies for proactive neighborhood-level policing and problem solving
with the community:52

    •    Informal and Formal Community Engagement to help “build community partnerships
         and trust to enhance problem solving and crime reduction efforts,” including foot patrol in
         officers’ assigned areas and increasing patrol staffing to allow patrol officers to spend at
         least 40 percent of their time engaging in proactive and community policing;

    •    Daily Problem Solving, described as “the tactical arm of Community Policing” wherein
         officers will “partner with community members to address problems on a daily basis”53;
         and

    •    Problem-Oriented Policing in High-Risk Places, wherein Neighborhood Coordination
         Officers (“NCOs”), who are designated as the “Community Policing and Problem-Oriented
         Policing specialists for each district”54 will “conduct Problem-Oriented Policing (POP) to
         address enduring problems requiring a more coordinated intervention than Daily Problem
         Solving.”

To measure whether, and to what extent, members are engaging in problem-oriented policing,
BPD’s Community Policing Plan requires patrol officers to document informal engagement and
daily problem-solving activities in the Computer Aided Dispatch (CAD) system.55 Specifically,
BPD reports that it “is currently tracking proactivity and opportunities for informal engagement
through the foot patrol, business checks, and directed patrol CAD signals. Other measures of
proactivity include field interviews, traffic stops, investigative stops, and warrant services.”56
Officers are also required to report environmental issues (such as abandoned cars and garbage) in



52 Id.
53 Id. at 21.
54 Id.
55 Id. at 19.
56 2021 Community Policing Annual Report, Aug. 4, 2022, Dkt. 530-1 (“2021 Community Policing

Report”), at 9.



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the 311 App available on their assigned mobile devices. 57 311 is a City service that allows
customers (including City employees and the public) to report a problem or request a non-
emergency service. Constituents may also call 311 to file non-emergency police reports.58

BPD reported that in 2021, officers averaged “24% of their time dedicated to proactive efforts.”59
Data analysis provided by BPD indicates an increase in recorded engagement activities and 311
reports from 2021 to 2022:

Figure 6.      BPD Proactive Calls per Year




Source: BPD




57 Community Policing Plan, at 19.
58 See Baltimore City website, https://311services.baltimorecity.gov/ (last accessed Aug. 11, 2023).
59 2021 Community Policing Report, at 10.




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Figure 7.      BPD 311 Service Requests




Source: BPD

The Monitoring Team also independently reviewed raw dispatch and 311 data to determine
frequency and time spent on proactive policing, community engagement activities, and addressing
quality of life issues (versus responding to calls for service). To conduct this analysis, the
Monitoring Team attempted to review the median amount of time officers spent responding to
community policing calls versus other calls for service in 2021 and 2022, by reviewing the time
officers recorded arriving to the scene of a call and the time at which the call was cleared as
completed. For purposes of this analysis, the Monitoring Team applied BPD’s definition of
community policing calls (foot patrol, business checks, community meetings, and directed patrol).

The Monitoring Team was not able to draw definitive conclusions from the data because for
approximately 20 percent of calls, officers’ on-scene time was not recorded. However, the data that
are available show that for the 80 percent of calls where on-scene time was recorded, median
officer time spent on community policing calls increased from 2021 to 2022 (and approached
nearly 40 percent):60

60
  A summary of the time spent on community policing and other calls are reported in the minutes
(mm:ss) as the median, the value in the ‘middle’ of the distribution, the 50th percentile. The median
is considered the most appropriate measure of central tendency when the data is not evenly




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The Monitoring Team commends BPD on taking the important first steps to record and analyze
some data related to patrol officers’ day-to-day community policing and engagement activities.
However, two key issues must be addressed for BPD to come into Initial Compliance with CD ¶
17.

One, as the Monitoring Team has previously reported, and discussed above, BPD must address its
workload issues and staffing shortages to enable patrol officers to have more time to spend on
community and problem-oriented policing and come closer to the Department’s current goal of
spending 40 percent of their time on proactivity. These measures include diverting calls for
services that do not require a police response; civilianizing positions that do not require a sworn
officer; being creative about recruiting and retaining employees; and improving job quality to
support retention.

Two, even if the CAD data were complete, the Monitoring Team cannot evaluate on CAD and 311
data alone whether BPD is engaging in problem identification and solving activities with the
community members around the community’s priorities, as the paragraph requires. In addition to
continuing to evaluate the CAD signal data and 311 referrals to determine how much of officers’
time is being spent on day-to-day proactive policing and engagement, in future assessments, the
Monitoring Team will also evaluate the type and quality of interactions to determine whether they
are effective in identifying and solving problems that the community prioritizes. The Monitoring
Team will also factor into its analysis:

   •   The Department’s in-depth problem-solving and formal engagement activities (which
       currently are largely handled and recorded by NCOs and are not necessarily reflected in
       the dispatch and 311 data); and

   •   Application of the Scanning, Analysis, Response, and Assessment (SARA) decision-
       making model, “a preventative approach that seeks to understand the underlying conditions
       for why crime and disorder repeats in particular geographies” and which officers have been
       trained to apply for longer-term problem solving.61

BPD will need to begin systematically capturing data that the Monitoring Team can analyze for
these inquiries. These data are particularly important because of feedback we heard during the
focus groups regarding the impact of BPD’s community policing efforts. Though this experiential
feedback was not a dispositive factor into our evaluation of Paragraph 17, we gleaned common
threads relevant to Paragraph 17 that will inform our approach to future assessments:




61 Community Policing Plan, at 9.




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First, the general sentiment from both police and community members is that although the NCOs
are active and known in the communities where they work, beat officers generally are not. For
instance, a number of the people we spoke to said that they thought foot patrol is an important part
of proactive policing, but officers are spending noticeably more time patrolling in their vehicles
than they do on foot patrols. A number also said that when BPD officers attend community events
or engage in in-depth problem solving, it is the NCOs—not patrol officers. This feedback suggests
that BPD and the Monitoring Team should delve deeper into whether the decisions about what
types of engagements the Department is prioritizing, and who is expected to attend those
engagements, are being made with the community and align with the community’s priorities.

Second, NCOs are generally regarded highly as important for, and effective at, problem-oriented
policing, particularly for issues that require longer-term problem solving or coordinated
intervention with other City agencies or community resources. Indeed, several of the community
members who participated in our focus groups reported that if they saw the SARA model applied
at all (many of them had not), it was by the NCOs in their district. However, both BPD members
and community members reported most districts don’t have enough NCOs, and that the NCOs who
are assigned are often deployed to other more acute patrol responsibilities.

Third, a number of officers believed the Department too heavily prioritized activities over
outcomes. Many of the members we spoke to expressed that the Department should look for a
different a way to assess the quality of officers’ engagements with the community, rather than just
the quantity of engagements. We address this issue further in our assessment of CD ¶ 18 below.

               3.      Quality-of-Life Issues

To evaluate CD ¶ 17’s requirement that BPD “work proactively to address quality-of-life issues in
a manner that minimizes stops, Citations, searches, arrests, and use of force”, the Monitoring Team
attempted to analyze geographic trends in the overall number of stops, citations, searches, arrests,
and use of force over time, in areas where proactive policing has increased. The purpose of this
analysis is to determine whether community policing activity is increasing independent of changes
in stops, citations, searches, arrests, and use of force (or, if, in the alternative, another trend is
emerging).

The Monitoring Team was not able to conduct this analysis because sufficient reliable data related
to stops, searches, and arrests did not yet exist at the time of drafting this report. However, BPD
has been working diligently with the Monitoring Team to cure these data issues, such that the
Monitoring Team intends to conduct this analysis in future assessments.




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                 4.     Conclusion

BPD has made progress in implementing the requirements of CD ¶ 17 and remains On Track
(Score 4c) in this area. As discussed above, to reach Initial Compliance, BPD will need to
demonstrate more engagement with community members to identify and solve community
problems and correct the data collection issues preventing a full analysis of BPD’s efforts in this
area.

          D.     Paragraph 18

          BPD will ensure that data about community policing efforts and outcomes are
          evaluated by command staff.

BPD’s Community Policing Plan emphasizes that the Department will take a data-driven approach
to community policing.62 As discussed above, since the Consent Decree was entered, BPD has put
the infrastructure in place to track “proactivity and opportunities for informal engagement through
the foot patrol, business checks, and directed patrol CAD signals.”63 BPD also tracks officers’
reports of environmental issues to 311.64 BPD’s Community Policing Plan requires district
commanders to report at COMSTAT on the status of district-level community policing activities.

In addition, the Monitoring Team reviewed 2021 and 2022 quarterly district crime plans/end-of-
year recaps provided by BPD. These documents were prepared for the districts to present their
2021 year-end review and 2022 priorities in COMSTAT. The document template asked the districts
to address a number of standardized questions focused on identifying their main crime
trends/patterns, supporting data, an action plan for addressing the trends, and how the district
intends to leverage community and city resources and partnerships to address the problems.

The Monitoring Team’s interviews with sworn members, including command staff, confirmed that
COMSTAT and the quarterly district plans are the primary mechanisms by which command staff
evaluates community policing data.

As discussed in more detail above, BPD COMSTAT meetings are an effective tool for maintaining
internal visibility over data related to some day-to-day activities. The Monitoring Team’s review
of COMSTAT materials and observation of COMSTAT meetings confirms that BPD command is,
on a consistent basis, systematically reviewing quantitative data about officers’ day-to-day
community policing efforts and these efforts’ correlation to crime in the districts.



62   Community Policing Plan, at 13.
63 2021 Community Policing Report, at 9.
64 Community Policing Plan, at 19.




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Where the Department’s evaluation appears to be falling short is in: (1) assessing qualitative data
reflecting the impact of longer-term community policing efforts, and (2) assessing outcomes (i.e.,
the cause and effect resulting from all the Department’s community policing efforts).

During our focus groups, a number of members expressed that COMSTAT reviews tend to focus
on the number of activities each district is contributing, as opposed to the quality of officers’
engagements with the community and the outcomes of those engagements. This feedback is
consistent with the observation from the academic evaluator assessing the NPP pilot, which stated
that involved City agencies were overly focused on clearing out 311 service requests, an activity
the evaluator concluded does not address the goal of “build[ing] out problem-solving partnerships
with the community.”65

To be sure, outcome metrics in this space are difficult to define and evaluate, especially on a large
scale.66 But they are critical to truly gauging the impact of BPD’s community policing efforts. 67
In conclusion, BPD’s compliance score for Paragraph 18 is 4c – Implementation on Track. To
demonstrate Initial Compliance, BPD will need to show that leadership is using both quantitative
and qualitative measures to assess the outcomes of the Department’s community policing efforts.




65 University of Baltimore, Neighborhood Policing Plans: Pilot Phase 1 Process Evaluation
Report, Sept. 30, 2022, (“NPP Phase 1 Evaluation”), at 13.
66
   See, e.g., National Institute of Justice, The IMPACTT of a Patrol Officer: Evaluating Productivity
Metrics,      available     at    https://nij.ojp.gov/topics/articles/impactt-patrol-officer-evaluating-
productivity-metrics (last accessed Aug. 11, 2023).
67 See, e.g., U.S. Dep’t of Justice Community Oriented Policing Services, Community Policing

Defined, available at https://cops.usdoj.gov/RIC/Publications/cops-p157-pub.pdf (last accessed
Aug. 11, 2023), at 6 (“In addition to the typical measures of police performance . . . community
policing calls for broadening police outcome measures to include such things as greater community
satisfaction, less fear of crime, the alleviation of problems, and improvement in quality of life.
Community policing calls for a more sophisticated approach to evaluation—one that looks at not
only how outcomes are measured but also how feedback information is used.”).



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       E.      Paragraph 19

       The City and BPD will, within their respective spheres, develop and implement
       community-engagement plans for creating opportunities for routine and frequent
       positive interactions between officers and community members, including those
       critical of BPD. The community engagement plans will ensure that:

            a. BPD provides for all sworn representatives of BPD who interact with the
               public in the regular course of their activities to participate in
               neighborhood and community meetings and other community events;
            b. BPD identifies the number and types of meetings to be attended;
            c. BPD and the City establish or provide for participation in a variety of long-
               term programs that promote and foster positive police-youth interactions;
            d. BPD provides for the continuation of a BPD Explorer Program for Youth in
               Baltimore to learn police-related skills and assist with community events
               and outreach;
            e. BPD and the City place emphasis on creating opportunities for positive
               interactions with Youth, communities of color and residents of low-income
               and public housing;
            f. BPD and the City provide for outreach in all neighborhoods, including
               neighborhoods where no neighborhood association has been established to
               provide consultation and input to BPD;
            g. BPD and the City collaborate, where feasible, with neighborhood
               mediations in Baltimore that promote lasting resolutions of appropriately
               selected disputes among community members to reduce police involvement
               in these disputes; and
            h. BPD develops micro-community policing or similar plans to reflect
               particular community enforcement priorities.

               1.      Attending Community Events

CD ¶ 19 subsections (a) and (b) require that BPD plan for all sworn members who interact with
the public to participate in community meetings and events and identify the number and types of
meetings to be attended. Though BPD’s Community Policing Plan does not specify the number of
meetings officers should attend, it does provide that officers are expected to “participat[e] in
neighborhood and community meetings/events.”68 BPD reported that members across the
Department attended a wide variety of events with the community in 2021, ranging from virtual
community safety meetings to food drives. For example:69

68 Community Policing Plan, at 8.
69 2021 Community Policing Report, at 18.




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Figure 11.     Example District Community Engagement Activities




Source: BPD 2021 Community Policing Report

Based on the activities BPD reported, the Department is on track in this area. As of the date of the
drafting of this report, BPD had not provided the Monitoring Team finalized documentation
reflecting community events and meetings attended in 2022, but the Monitoring Team expects that
a similar level and type of activity occurred in 2022 as in 2021. If and when the Monitoring Team
can determine that BPD’s engagement activities are not simply the result of a one-time initiative
or drive—but, instead, are institutionalized in the way that the Consent Decree and Community
Policing Plan contemplate—the Team anticipates that BPD will be in a position to reach Initial
Compliance with the Decree.

Additionally, in future assessments, the Monitoring Team will evaluate whether BPD continues to
provide sworn members who frequently interact with the public (and, in particular, non-NCOs) the
opportunity to attend community events. The Team will also evaluate whether BPD identifies in a
planning document in advance the number and type of meetings officers are expected to attend, as
the paragraph requires.

               2.      Youth Programs

Subsections (c), (d), and (e) require that BPD and the City’s engagement plans provide for
opportunities for positive interactions with youth, including “participation in a variety of long-



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term programs that promote and foster positive police-youth interactions” and “the continuation
of a BPD Explorer Program for Youth in Baltimore to learn police-related skills and assist with
community events and outreach.”

BPD reported that its “Community Youth Services Division (CYS) is responsible for regular day-
to-day community engagement and policing activities, including engagement activities with youth
and youth-serving organizations.”70 BPD also reported that in 2021, “CYS coordinated and
planned community events such as crime walks, town hall meetings and forums, and neighborhood
clean-ups” as “proactive opportunities to hear about challenges in the community and address
crime collaboratively with neighborhood groups.”71

In addition, BPD reported that in 2021 it hosted the Law Enforcement Explorer Program, “a 36-
week program that provides young adults who may be interested in a career in law enforcement
with a comprehensive program of training, competition, service and practical experiences.”72

Based on the activities BPD reported, it is off track in this area because BPD has not provided
documentation demonstrating that it has addressed the Consent Decree’s requirement that BPD
plan a variety of long-term programs. In future assessments, the Monitoring Team will evaluate
that BPD and the City have planned and implemented a variety of long-term programs to foster
youth interactions, including, but not only, the Explorers Program.

                3.   Micro-Community Policing

Subsection (h) requires BPD to develop “micro-community policing or similar plans to reflect
particular community enforcement priorities.” CD ¶ 511(bbb) defines micro-community policing
as “[a] policing strategy based on community partnerships and problem-solving techniques that
are tailored to a neighborhood or other small geographic area, recognizing that priorities vary
between and within differing neighborhoods or other geographic communities.”

In 2021, BPD and the Mayor’s Office of Neighborhood Safety and Engagement (“MONSE”) and
other City agencies worked in collaboration with two community-based organizations to build and
pilot Neighborhood Policing Plans (NPP)—crime and public safety plans co-developed by BPD
and community members to identify and address public safety priorities at the neighborhood
level.73 According to the City, “[t]hese plans allow for individually-tailored strategies by




70 Id. at 22.
71 Id.
72 Id.
73 Id. at 19.




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neighborhood and are a direct response to calls by Baltimore residents to have more agency over
decision making impacting their communities.”74

BPD, in coordination with MONSE, chose two police districts in which to pilot the NPP program:
the Western District, in partnership with Fayette Street Outreach, and the Southern District, in
partnership with the Greater Baybrook Association,75 with the intent of expanding the program to
other districts following an independent evaluation of the pilot by the University of Baltimore.
Other City agencies involved in the NPP pilot are the Department of Transportation; Department
of Public Works; Department of Recreation and Parks; Department of Housing and Community
Development; and Baltimore City Information and Technology.76

The Monitoring Team reviewed a September 30, 2022, report from the University of Baltimore
evaluating Phase 1 of the Pilot. According to the report, throughout the first year of the pilot
(January through December 2021), the program’s focus was on understanding a community’s
public safety needs and planning activities (e.g., goal setting and testing data tracking
functionality).77 Phase 2 of the pilot, which began in January 2022 and is still underway, has been
focused on creating and implementing action plans to outline the specific priorities for involved
City agencies:78




74 Baltimore City Comprehensive Violence Prevention Plan, effective 2021-2026, available at

https://monse.baltimorecity.gov/sites/default/files/MayorScott-
ComprehensiveViolencePreventionPlan 1.pdf (last accessed Aug. 11, 2023), at 21.
75 2021 Community Policing Report, at 19.
76 2021 Community Policing Report, at 21.
77 NPP Phase 1 Evaluation, at 7-8.
78 Id. at 9.




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Figure 12.   BPD Neighborhood Policing Plan Action Plan Sample (Southern District)




Source: NPP Phase 1 Evaluation at 22




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Figure 13.   BPD Neighborhood Policing Plan Action Plan Sample (Western District)




Source: NPP Phase 1 Evaluation at 23




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The evaluation highlighted some bright spots and some challenges in the first phase of the pilot
implementation. The evaluation noted that the City agencies did a “great job proposing action
items that meet the needs expressed by community members,” taking one of two approaches—
most agencies scheduled regular area scans “to facilitate a consistent intervention and monitoring
of the focus areas,” while the other agencies target specific locations and items to address to
“emphasize improving facilities serving these neighborhoods so that they can offer support to
residents.”79

The evaluation also identified several areas for improvement, particularly where the City agencies
“were not able to respond to, or are only able to respond to partially, due to their missions and
capacity”80:

        •       In both pilot sites, “residents expressed concerns related to youth in the neighborhoods
                . . . including access to activities and role models.” The evaluation notes that “the
                capacity to support youth more holistically in these areas is not fully developed under
                the current iteration of the NPP pilot program” and that other City entities (e.g., the
                Mayor’s Office of Employment Development) would likely need to be included in the
                program to do so.

        •       Residents expressed concerns about mental health and mental illness and their
                relationship to drug use and sales. The evaluator recommended that the NPP program
                engage partners equipped to handle these types of issues (e.g., the Baltimore
                Department of Public Health, Baltimore City’s Opioid Intervention Team, the National
                Alliance of Mental Illness, and local mental health and drug treatment partners in the
                area).

        •       Vacant housing was a “persistent issue among residents in both pilot sites.” The
                evaluator recommended engaging with longer-term solutions for vacant homes, which
                will likely require investment from other divisions within the Department of Housing
                and Community Development and other City resources.

        •       To address “unofficial avenues in entrepreneurship” (e.g., snowball stands, car washes)
                the evaluator recommended considering introducing pathways to official
                entrepreneurship that would enrich the neighborhoods in need of these services.




79 Id. at 9-11.
80 Id. at 10.




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        •       Though the community partners work to develop unity in the communities, the
                evaluator recommended that the City agencies working on the program should “work
                purposefully to support and expand these efforts.”

The evaluation also noted a number of process and organizational challenges to the program, which
the evaluator recommended the City address before expanding the program to other districts,
including:81

        •       Constant change in City personnel and short staffing;

        •       The accountability and reporting structure, specifically, MONSE’s “barriers in holding
                agencies accountable to identifying and committing to action items for the NPP
                program”;

        •       The City’s delayed approval of the project budget; and

        •       The involved City agencies were overly focused on clearing out 311 service requests,
                an activity that “does not address the goals of the NPP pilot program to build out
                problem-solving partnerships with the community.”

The evaluation conclusions are consistent with feedback that the Monitoring Team heard during
focus groups conducted for this assessment. A number of people involved in the implementation
of the NPP pilots reported that it has been difficult to get non-BPD City agencies to keep up with
the demands of the implementation plan.

Overall, despite its challenges, the City and BPD’s concept design of the NPP pilot reflects a
thoughtful and measured approach to developing neighborhood-level policing plans that reflect
the community’s enforcement priorities. However, the program has significant implementation
challenges that need to be addressed for the program to be successful and expand. For example,
members of the community, police officers working the area, and city employees likely need to be
trained on problem solving and provided the needed facilitation to identify, plan, and work an
approach to specific crime or disorder problems. In future assessments, the Monitoring Team will
evaluate additional micro-policing plans the City and BPD develop to ensure they reflect particular
community enforcement priorities.

The Monitoring Team commends the City and BPD for engaging a committed independent
evaluator to evaluate the pilot and provide honest feedback about the implementation. The



81 Id. at 13.




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Monitoring Team recommends that the City and BPD implement as many of the evaluator’s
recommendations as possible prior to expanding the NPP program citywide.

              4.      Other Requirements

The remaining subsections of CD ¶ 19 require the City and BPD’s community engagement plans
to account for:

       •   “[E]mphasis on creating opportunities for positive interactions with . . . communities
           of color and residents of low-income and public housing” (Subsection e);

       •    “[O]utreach in all neighborhoods, including neighborhoods where no neighborhood
           association has been established to provide consultation and input to BPD” (Subsection
           f); and

       •   “[C]ollaborat[ion], where feasible, with neighborhood mediations in Baltimore that
           promote lasting resolutions of appropriately selected disputes among community
           members to reduce police involvement in these disputes” (Subsection g).

BPD’s Community Policing Plan and 2021 Community Policing Annual Report do not discuss
plans or implementation for these particular elements of Paragraph 19; nor does any of the
documentation BPD provided to the Monitoring Team for this evaluation. For Initial Compliance,
BPD will have to show documented plans and implementation progress of these subsections.

              5.      Conclusion

BPD is Off Track (Score 4b) in its implementation of Paragraph 19, which intends to create
opportunities for routine and frequent positive interactions between BPD and the community. As
discussed above, to demonstrate Initial Compliance in this area, BPD will need to show more
progress not only implementing, but also planning, the paragraph’s numerous and varied
requirements.




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         F.    Paragraph 20

         BPD will ensure that it solicits input from its advisory boards and councils
         representing particular communities in Baltimore, such as the Youth Advisory
         Board and the LGBT Advisory Council, on policies, practices, training,
         engagement programs, and enforcement strategies that affect the communities
         those advisory groups represent.

BPD’s Community Policing Plan instructs the Patrol Services Division to “coordinate regular
meetings of advisory boards to help inform the operations of the Department.”82 The Plan states
that these boards include, but are not limited to, the Youth Advisory Board; LGBTQ+ Advisory
Board; Interfaith Advisory Board; Aging Commission, and Veterans Commission. 83

From 2019 to 2021, BPD convened a Community Training Review Committee, which consisted
of one community representative from each police district and other stakeholders in the criminal
legal system. This committee reviewed and provided meaningful and robust input on BPD’s 2021
community policing training. BPD reported that in 2021, the “LGBTQIA+ Liaison Officer is
responsible for working closely with the LGBTQIA+ community on a variety of community-
related events and issues, including attending the LGBTQIA+ Advisory Council Meetings.” BPD
reported that “[d]ue to staffing challenges, BPD was not able to engage in as many activities as
hoped.”84 In addition, BPD provided documentation reflecting its 2022 and 2023 participation in
the City’s Behavioral Health Collaborative, a convening of relevant City and state agencies, local
healthcare providers, behavioral-health advocates, and researchers, with the goal of improving
Baltimore City’s system of behavioral-health response. The agendas and notes provided by BPD
reflect that BPD’s policies and training related to behavioral-health response have been discussed
with the Collaborative.

Although these are encouraging developments, BPD did not provide evidence that it has convened
the advisory boards required by CD ¶ 20 since 2021. BPD indicated recently that early efforts are
underway to convene a BPD-led Youth Advisory Committee and that a job posting for a new
LGBTQIA+ Liaison is under development. BPD was also awarded a federal grant in 2022 to
engage community collaborators “to organize, directly collaborate with, and bring community
members together as cohorts - representing private, public, and nonprofit sectors - to review and




82 Community Policing Plan, at 28.
83 Id.
84 2021 Community Policing Report, at 24.




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make recommendations regarding draft policies, training, youth engagement practices; and the
implementation of them all.”85

In conclusion, the failure of BPD to provide evidence that it has convened the required advisory
boards and is soliciting input from them on the required topics means that BPD is Off Track (Score
4b) with this requirement. In future assessments, the Monitoring Team will evaluate that BPD is
soliciting input from the required advisory boards and councils on an ongoing basis. The
Monitoring Team expects that BPD will document these interactions so that the Monitoring Team
can review and audit them to verify that input on the topics specified in CD ¶ 20 is being solicited.

       G.      Paragraph 21

        To inform the public about BPD’s implementation of the Consent Agreement, BPD
        shall develop a community outreach and public information program about the
        Agreement in each District. The program shall include at least two meetings per
        year in each District that is open to the public. During the meetings, BPD will
        inform the public about the requirements of this Agreement, update the public on
        BPD’s progress meeting these requirements, and address areas of community
        concern. At least one week before such meetings, BPD will widely publicize the
        meetings. The meetings shall, with appropriate safeguards to protect sensitive
        information, include summaries of all audits and reports completed pursuant to
        this Agreement and any policy changes made and other significant action taken as
        a result of this Agreement. The meetings shall also include public education on an
        individual’s rights and responsibilities during a police encounter. These meetings
        may be held together with the Monitor, partially fulfilling also the Monitor’s public
        outreach obligations.

CD ¶ 21 requires BPD to develop a community outreach and public information program about
the Consent Decree. The paragraph further articulates what should occur doing the community
meetings and how they should be publicized.

In 2021, BPD’s Consent Decree Implementation Unit (“CDIU”) began hosting and attending in-
person and virtual meetings to inform the public about the Consent Decree and BPD’s
implementation progress. According to BPD’s 2021 Community Policing Report, the meetings
were arranged on request from community associations, through solicitation efforts from police
department members, and from CDIU outreach efforts.86

85 U.S. Dep’t of Justice Office of Justice Programs, Baltimore City Police Department

Community Collaboration Initiative, https://bja.ojp.gov/funding/awards/15pbja-22-gg-00040-
brnd (last accessed Aug. 11, 2023).
86 2021 Community Policing Report, at 25-28.




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The Monitoring Team reviewed Excel spreadsheets maintained and provided by BPD entitled
“Community Engagement Tracker” for the years 2021, 2022, and 2023, as well as a sample of
flyers and social announcements designed to publicize the meetings that BPD provided. The
documentation BPD provided indicates that BPD hosted or attended beyond the required number
of meetings. BPD also provided evidence of a newsletter it distributes to advertise the meetings.
Indeed, over the years, the Monitoring Team attended a number of these meetings, and the ones
we observed were generally well done and informative.

BPD’s compliance status with Paragraph 21 is 4d – Initial Compliance. In future assessments,
the Monitoring Team will evaluate that BPD continues to host the required meetings and that these
meetings meet the requirements of the paragraph.

The Monitoring Team recommends that BPD maintain minutes or notes so the content of the
meetings can be audited at a later time, as the Monitoring Team’s contemporaneous attendance at
the meetings to evaluate their content may not be feasible. The Monitoring Team will also evaluate
how BPD widely publicizes the meetings, including by auditing documentation reflecting that the
meetings were widely publicized at least one week in advance, as the Consent Decree requires.
Though the specificity of CD ¶ 21’s requirements may seem administrative in nature, a number of
residents reported during focus groups the Monitoring Team conducted that they felt
underinformed about the Consent Decree and BPD’s progress implementing it. These meetings
can be a valuable mechanism for keeping residents informed about the Consent Decree.




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       H.     Paragraph 22

       On at least an annual basis, BPD will prepare a publicly available report of its
       community policing efforts, including a breakdown by district. As part of this
       report, BPD will identify deficiencies and opportunities for improvement in
       initiatives for community engagement and community policing. The report will
       include specific problems addressed and steps taken by BPD and the community
       toward their resolution. The report will describe the ways BPD has sought input
       from the community related to the Agreement’s implementation. The report will
       identify steps BPD has taken to measure officer outreach to community members.

The Consent Decree requires BPD to prepare and publish an annual report on its community
policing efforts, to include analysis of “deficiencies and opportunities for improvement in
initiatives for community engagement and community policing” and “specific problems
addressed, and steps taken by BPD and the community toward their resolution.” To evaluate this
paragraph, the Monitoring Team reviewed the annual reports BPD published for 2019, 2020, and
2021.87 BPD has indicated it is on track to publish the 2022 report later this year.

The published reports provide updates on BPD’s community policing and engagement efforts,
including deficiencies identified and plans for improvement, as well as general updates on BPD’s
progress implementing the Community Policing Plan.

The reports are thorough and comply with the required elements of Paragraph 22; they are also
written in plain language for residents to understand. Therefore, BPD is in Initial Compliance
(Score 4d) with this paragraph. In future assessments, the Monitoring Team will evaluate whether
BPD continues to publish the required reports on an annual basis and that the reports continue to
include the required elements.

The Monitoring Team provides one recommendation to increase transparency around the reports.
Though they are publicly available on the court docket and “Reports and Resources” section of
BPD’s website, the Monitoring Team encourages BPD to make the reports more easily accessible
on the Transparency and Community tabs of BPD’s website (similar to the Community Policing
Plan, which is prominently featured and easy to access):88




87 See 2019 Community Policing Annual Report, Dec. 20, 2019, Dkt. 273; 2020 Community

Policing Annual Report, June 24, 2021, Dkt. 425; 2021 Community Policing Report.
88 See BPD website, https://www.baltimorepolice.org/community (last accessed Aug. 11, 2023).




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Figure 14.   BPD Website, Community Page




Source: BPD Website




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18    BPD will ensure that data about community policing efforts and outcomes                   4c –
      are evaluated by command staff.                                                      Implementation
                                                                                             On Track
19     The City and BPD will, within their respective spheres, develop and                      4b –
       implement community-engagement plans for creating opportunities for                 Implementation
       routine and frequent positive interactions between officers and community
                                                                                             Off Track
       members, including those critical of BPD. The community engagement
       plans will ensure that:

              a.      BPD provides for all sworn representatives of BPD who
                      interact with the public in the regular course of their activities
                      to participate in neighborhood and community meetings and
                      other community events;
              b.      BPD identifies the number and types of meetings to be
                      attended;
              c.      BPD and the City establish or provide for participation in a
                      variety of long-term programs that promote and foster
                      positive police-youth interactions;
              d.      BPD provides for the continuation of a BPD Explorer
                      Program for Youth in Baltimore to learn police-related skills
                      and assist with community events and outreach;
              e.      BPD and the City place emphasis on creating opportunities
                      for positive interactions with Youth, communities of color
                      and residents of low-income and public housing;
              f.      BPD and the City provide for outreach in all neighborhoods,
                      including neighborhoods where no neighborhood association
                      has been established to provide consultation and input to
                      BPD;
              g.      BPD and the City collaborate, where feasible, with
                      neighborhood mediations in Baltimore that promote lasting
                      resolutions of appropriately selected disputes among
                      community members to reduce police involvement in these
                      disputes; and
              h.      BPD develops micro-community policing or similar plans to
                      reflect particular community enforcement priorities.

20    BPD will ensure that it solicits input from its advisory boards and councils              4b –
      representing particular communities in Baltimore, such as the Youth                  Implementation
      Advisory Board and the LGBT Advisory Council, on policies, practices,
                                                                                             Off Track
      training, engagement programs, and enforcement strategies that affect the
      communities those advisory groups represent.

21    To inform the public about BPD’s implementation of the Consent                        4d – Initial
      Agreement, BPD shall develop a community outreach and public information              Compliance
      program about the Agreement in each District. The program shall include at
      least two meetings per year in each District that is open to the public. During
      the meetings, BPD will inform the public about the requirements of this
      Agreement, update the public on BPD’s progress meeting these requirements,




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      and address areas of community concern. At least one week before such
      meetings, BPD will widely publicize the meetings. The meetings shall, with
      appropriate safeguards to protect sensitive information, include summaries of
      all audits and reports completed pursuant to this Agreement and any policy
      changes made and other significant action taken as a result of this Agreement.
      The meetings shall also include public education on an individual’s rights and
      responsibilities during a police encounter. These meetings may be held
      together with the Monitor, partially fulfilling also the Monitor’s public
      outreach obligations.

22    On at least an annual basis, BPD will prepare a publicly available report of     4d - Initial
      its community policing efforts, including a breakdown by district. As part of    Compliance
      this report, BPD will identify deficiencies and opportunities for improvement
      in initiatives for community engagement and community policing. The report
      will include specific problems addressed and steps taken by BPD and the
      community toward their resolution. The report will describe the ways BPD
      has sought input from the community related to the Agreement’s
      implementation. The report will identify steps BPD has taken to measure
      officer outreach to community members.




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